         Case 4:22-cv-00816-DPM Document 37 Filed 11/09/23 Page 1 of 4

                        UNITED STATES COURT OF APPEALS
                            FOR THE EIGHTH CIRCUIT



                                            No: 23-3252


                                            Lonnie Reed

                                                Plaintiff - Appellant

                                                  v.

                     Dexter Payne, Director, Arkansas Divsion of Correction

                                              Defendant - Appellee


          Appeal from U.S. District Court for the Eastern District of Arkansas - Central
                                     (4:22-cv-00816-DPM)


                                           JUDGMENT


Before BENTON, ERICKSON, and GRASZ, Circuit Judges.


       This appeal comes before the court on appellant's application for a certificate of

appealability. The court has carefully reviewed the original file of the district court, and the

application for a certificate of appealability is denied. The appeal is dismissed.

                                                       November 09, 2023




Order Entered at the Direction of the Court:
Clerk, U.S. Court of Appeals, Eighth Circuit.

            Isl Michael E. Gans




   Appellate Case: 23-3252          Page: 1       Date Filed: 11/09/2023 Entry ID: 5334657
          Case 4:22-cv-00816-DPM Document 37 Filed 11/09/23 Page 2 of 4

                               United States Court of Appeals
                                      For The Eighth Circuit
                                      Thomas F. Eagleton U.S. Courthouse
                                      111 South I 0th Street, Room 24.329
                                     St. Louis, Missouri 63102
                                                                                 VOICE (314) 244-2400
Michael E. Gans
                                                                                   FAX (314) 244-2780
Clerk of Court
                                                                                 www.ca8.uscourts.gov

                                                             November 09, 2023


Craig Lambert
Craig Lambert, Attorney
P.O. Box 839
Heber Springs, AR 72543

         RE: 23-3252 Lonnie Reed v. Dexter Payne

Dear Counsel:

        Enclosed is a copy of the dispositive order in the referenced appeal. Please note that
FRAP 40 of the Federal Rules of Appellate Procedure requires any petition for rehearing to be
filed within 14 days after entry of judgment. Counsel-filed petitions must be filed electronically
in CM/ECF. Paper copies are not required. This court strictly enforces the 14-day period. Except
as provided by Rule 25(a)(2)(iii) of the Federal Rules of Appellate Procedure, no grace period
for mailing is granted for pro-se-filed petitions. A petition for rehearing or a motion for an
extension of time must be filed with the Clerk's office within the 14-day period.

                                                             Michael E. Gans
                                                             Clerk of Court

HAG

Enclosure( s)

cc:      Clerk, U.S. District Court, Eastern District of Arkansas
         David L. Eanes Jr.

            District Court/Agency Case Number(s): 4:22-cv-00816-DPM




      Appellate Case: 23-3252       Page: 1          Date Filed: 11/09/2023 Entry ID: 5334657
                  Case 4:22-cv-00816-DPM Document 37 Filed 11/09/23 Page 3 of 4


John Hibbs

From:                ca08ml_cmecf_Notify@ca8.uscourts.gov
Sent:                Thursday, November 9, 2023 3:49 PM
Subject:             23-3252 Lonnie Reed v. Dexter Payne "judgment filed sua sponte coa denied" (4:22-cv-00816-DPM)


***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits attorneys of record and
parties in a case (including pro se litigants) to receive one free electronic copy of all documents filed electronically, if
receipt is required by law or directed by the filer. PACER access fees apply to all other users. To avoid later charges,
download a copy of each document during this first viewing.

                                              Eighth Circuit Court of Appeals

Notice of Docket Activity

The following transaction was filed on 11/09/2023

Case Name:       Lonnie Reed v. Dexter Payne
Case Number: 23-3252
Document(s):     Document(s)




Docket Text:
JUDGMENT FILED - Application for Certificate of Appealability is denied. DUANE BENTON, RALPH R. ERICKSON and L.
STEVEN GRASZ Adp Nov 2023 [5334657] [23-3252] (Hillary Grupe)

Notice will be electronically mailed to:

Ms. Clerk, U.S. District Court, Eastern District of Arkansas, Clerk of Court: ared_appeals@ared.uscourts.gov
Mr. David L. Eanes, Jr.: david.eanes@arkansasag.gov, theresa.griffin@arkansasag.gov, ericha.clark@arkansasag.gov
Mr. Craig Lambert: wclambert@aol.com


The following document(s) are associated with this transaction:
Document Description: Cover Letter
Original Filename: /opt/ACECF/live/forms/HillaryGrupe_233252_5334657_GeneralCoverLetters_122.pdf
Electronic Document Stamp:
[STAMP acecfStamp_ID=1105112566 [Date=11/09/2023] [FileNumber=5334657-0]
[54fd6f67369f227f5f58e740a5b69b90746f6a957110cec1b4c13c878281771100646a0b6fe69e048b910f1bc1fffb85d373a
2ea9cdbb56b4e349a1ae735c958]]
Recipients:

       Ms. Clerk, U.S. District Court, Eastern District of Arkansas, Clerk of Court
       Mr. David L. Eanes, Jr.
       Mr. Craig Lambert

Document Description: Judgment: Judge Directed
Original Filename: /opt/ACECF/live/forms/HillaryGrupe_233252_5334657_JudgmentsJudgeDirected_127.pdf
                                                              1
                  Case 4:22-cv-00816-DPM Document 37 Filed 11/09/23 Page 4 of 4

Electronic Document Stamp:
[STAMP acecfStamp_ID=1105112566 [Date=11/09/2023] [FileNumber=5334657-1]
[b1412d320c44135666981b2acdb8a5cc99be569a05e6499448ae7d3985d7640e5cc04b931b7cd38f4b44331c709e5444e
30081bae994b9a2f75ced94f9f8b726]]
Recipients:

       Ms. Clerk, U.S. District Court, Eastern District of Arkansas, Clerk of Court
       Mr. David L. Eanes, Jr.
       Mr. Craig Lambert

The following information is for the use of court personnel:


DOCKET ENTRY ID: 5334657
RELIEF(S) DOCKETED:
 coa denied
DOCKET PART(S) ADDED: 7396685, 7396686, 7396687




                                                               2
